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             EXHIBIT 3
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      United States
                                  TikTok is a community full of creativity and passion, a home that brings joy to families and
                                  meaningful careers to creators. And we are building this platform for the long term. TikTok
                                  will be here for many years to come.

                                  We are shocked by the recent Executive Order, which was issued without any due process.
                                  For nearly a year, we have sought to engage with the US government in good faith to
                                  provide a constructive solution to the concerns that have been expressed. What we
                                  encountered instead was that the Administration paid no attention to facts, dictated terms
                                  of an agreement without going through standard legal processes, and tried to insert itself
                                  into negotiations between private businesses.

                                  We made clear our intentions to work with the appropriate officials to devise a solution to
                                  benefit our users, creators, partners, employees, and the broader community in the United
                                  States. There has been, and continues to be, no due process or adherence to the law. The
                                  text of the decision makes it plain that there has been a reliance on unnamed "reports"
                                  with no citations, fears that the app "may be" used for misinformation campaigns with no
                                  substantiation of such fears, and concerns about the collection of data that is industry
                                  standard for thousands of mobile apps around the world. We have made clear that TikTok
                                  has never shared user data with the Chinese government, nor censored content at its
                                  request. In fact, we make our moderation guidelines and algorithm source code available
                                  in our Transparency Center, which is a level of accountability no peer company has
                                  committed to. We even expressed our willingness to pursue a full sale of the US business to
                                  an American company.

                                  This Executive Order risks undermining global businesses' trust in the United States'
                                  commitment to the rule of law, which has served as a magnet for investment and spurred
                                  decades of American economic growth. And it sets a dangerous precedent for the
                                  concept of free expression and open markets. We will pursue all remedies available to us
                                  in order to ensure that the rule of law is not discarded and that our company and our
                                  users are treated fairly – if not by the Administration, then by the US courts.

                                  We want the 100 million Americans who love our platform because it is your home for
                                  expression, entertainment, and connection to know: TikTok has never, and will never,
                                  waver in our commitment to you. We prioritize your safety, security, and the trust of our
                                  community – always. As TikTok users, creators, partners, and family, you have the right to
                                  express your opinions to your elected representatives, including the White House. You
                                  have the right to be heard.




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                          Our H1 2020 Transparency
                          Report
                          By Michael Beckerman, VP, Head of US Public Policy & Eric Han, Head of
                          Safety, TikTok US Today we released our global Transparency Report for the
                          first six months of 2020. This report provides insight




                            Safety     9/22/2020



                          TikTok proposes global coalition
                          to protect against harmful
                          content
                          By Cormac Keenan, Trust & Safety, EMEA; Arjun Narayan Bettadapur
                          Manjunath, Trust & Safety, APAC; Jeff Collins, Trust & Safety, Americas Earlier
                          today we released our global Transparency Report for th




                            Company       9/19/2020



                          An update for our TikTok family
                          By Vanessa Pappas, Interim Head of TikTok When I joined TikTok nearly two
                          years ago, few Americans had heard of it. The marketplace of online social
                          platforms had remained virtually unchanged for a de




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